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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION
IN RE:                                                                             CASE NO:   18-37012-H1-13
James Anthony Yeppez


                                               Uniform Plan and
                                       Motion for Valuation of Collateral

                                                        CHAPTER 13 PLAN
                                          Date of Plan:           1/17/2019
                                      [Date Must be Date that This Plan is Signed by Debtor(s)]


1. Statement of Inclusion of Specific Provisions. The Debtor(s) propose this Plan pursuant to 11 U.S.C. § 1321. The Debtor(s)
disclose whether this Plan includes certain provisions by checking the appropriate box:


 Description of Provision                                                                         Included         Not Included
 A.   A "non-standard" provision contained in Paragraph 29.

 B.   A provision limiting the amount of a secured claim based on a valuation of the
      collateral for the claim in Paragraph 11 or 14.


 C.   A provision avoiding a security interest or a lien in Paragraph 8(C).

 D.   A provision avoiding a security interest or lien in exempt property in Paragraph 15.


2. Summary Attached. Attached as Exhibit "A" is a summary of the payments to the Chapter 13 Trustee ("Trustee") and the
estimated disbursements to be made by the Trustee under this Plan.

3. Motion for Valuation of Secured Claims. If indicated in Paragraph 1B of this Plan, the Debtor(s) move to establish the value
of the collateral securing claims in the amount set forth in Paragraphs 11 and 14. The Debtor(s) propose to pay the holder of the
Secured Claim only the amounts set forth in the Debtor(s)' Plan. The Court will conduct an evidentiary hearing on this
contested matter on the date set for the hearing on confirmation of the Debtor(s)' Plan. You must file a response in writing
not less than 7 days (including weekends and holidays) before the hearing on confirmation of the Plan or the valuation set
forth in the Plan may be adopted by the Court. If no timely response is filed, the Debtor(s)' sworn declaration at the
conclusion of this Plan will be considered as summary evidence at the confirmation hearing.

4. Payments. The Debtor(s) must submit all or such portion of their future earnings and other future income to the supervision
and control of the Trustee as is necessary for the execution of the Plan. The applicable commitment period under Debtor(s)'
means test is         60         months (use "unavailable" if a means test has not been filed). The amount, frequency, and
duration of future payments to the Trustee are:




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      Beginning                Ending               Total               Monthly             Total              Monthly               Total
       Month*                  Month              Amount of             Savings            Forecast            Available           Available
                                                   Monthly               Fund              Savings                for                 for
                                                  Payment**             Deposit             Fund               Creditors           Creditors
                                                                                           Deposits              and                 and
                                                                                                               Reserve             Reserve
                                                                                                               Funds***             Funds
     1 (Jan 2019)           60 (Dec 2023)             $1,000.00                $0.00               $0.00          $1,000.00         $60,000.00
                                                      Grand
                                                      Total:                                       $0.00                            $60,000.00

* This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not later than 30 days after the
petition date.

** The total amount of monthly payment includes savings and reserves.

*** Reserve funds are funds established under Paragraph 23 of this Plan.

A.   If the payments to be made by the Trustee pursuant to Paragraphs 8(A)(ii) or 11(D) are adjusted in accordance with the
     Home Mortgage Payment Procedures defined and adopted pursuant to Bankruptcy Local Rule 3015-1(b) (whether on
     account of a change in any escrow requirement, a change in the applicable interest rate under an adjustable rate mortgage,
     or otherwise) or in accordance with the procedures set forth in Paragraphs 20(E) or 23(B), the payments to the Trustee
     under this Plan will be modified as follows:

     (i)     The Debtor(s)' payments required by Paragraph 4 of this Plan will be automatically increased or decreased by (i) the
             amount of the increase or decrease in the Paragraph 8(A)(ii), 11(D), 20(E) or 23(B) payments; and (ii) the amount of
             the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change.

     (ii)    The Posted Chapter 13 Trustee Fee is the percentage fee established by the Court and posted on the Court's web
             site from time to time****.
             **** The Posted Chapter 13 Trustee Fee does not alter the amount of the actual trustee fee established under 28 U.S.C. § 586(e)(1).


     (iii)   If a change pursuant to Paragraph 4(C), 8(A)(ii), 11(D), 20(E) or 23(B) is made and the monthly payment adjustment
             multiplied by the number of remaining months in the Plan is less than $100, the payment adjustments required by
             Paragraph 4(A) will not be made.

B.   If a Notice of Plan Payment Adjustment is required by Paragraph 8(A)(iii), the Debtor(s)' payments required by Paragraph 4
     of this Plan will be automatically increased by the amount of the adjustment.

C.   Subject to an Order to the contrary, if the on-going monthly mortgage payment referenced in a timely filed proof of claim
     differs from the on-going monthly mortgage payment scheduled in this Plan, the Trustee shall adjust the plan payment in
     order to reflect the on-going monthly mortgage payment amount provided for in the proof of claim.

D.   If a secured or priority proof of claim is not timely filed, the amounts scheduled in this Plan will govern. If a secured or
     priority proof of claim is timely filed after confirmation of this Plan, the amounts shown on the timely filed proof of claim will
     govern. The procedures in Paragraph 4(C) govern monthly mortgage payment amounts.

E.   In the event of a change in the monthly payment to the Trustee under this Plan, the Trustee is directed to submit an
     amended wage withholding order or to amend any automated bank draft procedure to satsify the automatic increase or
     decrease. The Debtor(s) must implement any appropriate amendments to any other form of payment.

F.   Nothing in this Paragraph 4 precludes the Trustee from seeking to dismiss a case based on a timely filed proof of claim
     that renders this Plan deficient.




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5. Priority Claims for Domestic Support Obligations. From the payments made by the Debtor(s) to the Trustee, the Trustee
shall pay in full all claims entitled to priority under 11 U.S.C. § 507(a)(1). If a timely proof of claim is filed, the actual amount of
the Domestic Support Obligation will be determined through the claims allowance process. Otherwise, the amount scheduled
in this Plan will control:


                Name of Holder                       Claim         Interest      Amount of          First         Last            Total
             of Domestic Support                                     Rate        Estimated        Payment       Payment
                  Obligation                                        Under         Periodic         of this       of this
                                                                     Plan         Payment         Amount        Amount
                                                                                                  in Mo. #      in Mo. #

Attorney General of Texas                            $4,409.27        6.00%          Pro-Rata            7            20           $4,671.04
6. Priority Claims (Other than Domestic Support Obligations.)

From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in full all claims entitled to priority under
11 U.S.C. §§ 507(a)(2) through 507(a)(10). If a timely proof of claim is filed, the actual amount of the Priority Claim will be
determined through the claims allowance process. Otherwise, the amount scheduled in this Plan will control:

A.

               Name of Holder                      Amount of       Interest      Amount             First         Last            Total
               of Priority Claim                    Priority         Rate           of            Payment       Payment
                                                     Claim          Under        Periodic          of this       of this
                                                                     Plan        Payment          Amount        Amount
                                                                                                  in Mo. #      in Mo. #

Guzman Law Firm                                      $4,231.00        0.00%           $636.75            1             6           $3,820.50
                                                                                      $410.50            7             7            $410.50
B.   Priority Claims arising under 11 U.S.C. § 503(b)(2) shall be paid only after entry of an order by the Bankruptcy Court
     approving payment of the claim. If this case is dismissed, no Priority Claim arising under 11 U.S.C. § 503(b)(2) shall be
     allowed unless an application for allowance is filed on or before 21 days after entry of the order of dismissal, and such
     application is subsequently granted by the Court.

7. Secured Claims for which Collateral is Surrendered. The Debtor(s) surrender the following collateral under this Plan:

 Name of Creditor                                        Description of Collateral
A.   Upon confirmation of this Plan, the Debtor(s) surrender the collateral and the automatic stay under 11 U.S.C. § 362(a) is
     terminated as to actions against any (i) collateral that is described in the preceding table; and (ii) escrow deposit held by the
     holder of a security interest to secure payment of taxes and insurance. The automatic stay is not terminated under this
     Paragraph as to any other action. The co-debtor stay under 11 U.S.C. § 1301(a) is terminated with respect to the collateral
     identified in the preceding table.

B.   Other than terminating the co-debtor stay, this Plan does not affect any co-debtor's rights in the collateral or the obligation of
     any secured creditor to act with respect to such a co-debtor in compliance with applicable non-bankruptcy law.

C.   The Debtor(s) and the creditor asserting a security interest against the collateral must comply with Bankruptcy Local Rule
     6007-1 with respect to the surrender of the collateral.

D.   The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with the creditor's allowed
     unsecured claim in any timely filed proof of claim; or (ii) by separate Court order.




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8. Secured Claim for Claim Secured Only by a Security Interest in Real Property that is the Debtor(s)' Principal Residence
(Property to be Retained). For each such claim, utilize either A, B, or C, below:
     A. This table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a security
interest in real property that is the Debtor(s)' principal residence located at ____________________________

Name of Holder of                               Claims        Plan                     Monthly                      Start. End.             Total
Secured Claim /                                             Interest                   Payment                      Month Month
Security for Claim                                            Rate                      Amount                        #     #

                                                                              P&I       Escrow          Total

* In this Plan, a "Cure Claim" is the amount required to cure any existing default. A "Total Debt Claim" is a claim that will be fully paid during the
term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a monthly
mortgage payment; or (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Mortgage Payment. The amount shown as
"Cure Claim" should be equal to the total of all amounts required to cure the mortgage.

** Including principal, interest, and escrow.

     (i)     Payment of these amounts will constitute a cure of all defaults (existing as of the petition date) of the Debtor(s)'
             obligations to the holder of the secured claim.

     (ii)    A claim secured only by a security interest in real property that is the Debtor(s)' principal residence (other than the
             Cure Claims or Total Debt Claim set forth in the above table) will be paid in accordance with the pre-petition contract.
             The claim includes all amounts that arise post-petition and that are authorized pursuant to Fed. R. Bankr. P. 3002.1.
             During the term of the Plan, these payments will be made through the Trustee in accordance with the Home Mortgage
             Payment Procedures adopted pursuant to Bankruptcy Local Rule 3015-1(b). Each holder of a claim that is paid
             pursuant to this Paragraph must elect to either (i) apply the payments received by it to the next payment due without
             penalty under the terms of the holder's pre-petition note; or (ii) waive all late charges that accrue after the order for
             relief in this case. Any holder that fails to file an affirmative election within 30 days of entry of the order confirming this
             Plan has waived all late charges that accrue after the order for relief in this case. Notwithstanding the foregoing, the
             holder may impose a late charge that accrues following an event of default of a payment due under Paragraph 4 of
             this Plan.

     (iii)   Except as otherwise ordered by the Court, any amounts due as a result of the filing of a Rule 3002.1(c) Notice shall be
             paid after payment of all other secured and priority claims, but before payment of all general unsecured claims. If the
             payment of the amounts due under a Rule 3002.1(c) Notice would render the Plan deficient because of a shortfall of
             available funds, the Trustee must file a Notice of Plan Payment Adjustment to provide sufficient funds to pay all
             secured and priority claims in full.

     (iv)    Each claim secured by a security interest is designated to be in a separate class.

     (v)     The Debtor(s) must timely provide the information required by the Trustee pursuant to the Home Mortgage Payment
             Procedures.




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Debtor(s):    James Anthony Yeppez                                                    Case No: 18-37012-H1-13


     B. The holder of the claim secured only by a security interest in real property that is the Debtor(s)' principal residence has
agreed to refinance the security interest and claim on the terms set forth on the document attached as Exhibit "B". The
refinancing brings the loan current in all respects. The terms of the loan that is being refinanced and the new loan are
described below:


                                                                     Old Loan                                  New Loan
 Current amount owed on old loan and total
 amount borrowed on new loan

 Interest rate is fixed or variable?

 Interest rate (in %)

 Closing costs paid by Debtor(s)

 Monthly principal and interest payment

 Monthly required escrow deposit

 Total monthly payment of principal, interest
 and escrow


    (i)      Upon confirmation of this Plan, the Debtor(s) are authorized to execute conforming documents with the holder of the
             security interest.

    (ii)     Payments made to the above referenced holder will be paid (check one, ONLY if Debtor(s) have checked option B,
             above):

                 Through the Trustee.
                 Directly to the holder of the claim, by the Debtor(s). The holder of the claim may not impose any attorney's fees,
                 inspection costs, appraisal costs or any other charges (other than principal, interest and ad valorem tax and
                 property insurance escrows) if such charges arose (in whole or in part) during the period (i) when the case is
                 open; (ii) after the closing of the refinanced loan; and (iii) prior to a modification of this Plan (i.e., following a
                 default by the Debtor(s) in payments to the holder of the claim) pursuant to which the Debtor(s) commence
                 payments through the Trustee to the holder of the claim secured solely by a security interest in the Debtor(s)'
                 principal residence. If the Debtor(s) default in direct payments following the refinancing, a proposed modification
                 of this Plan must be filed.




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    C. The following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence.

      Name of Holder of Lien to which this
      provision applies

      Address of Principal Residence

      Debtor(s)' Stated Value of Principal
      Residence

      Description of all Liens Senior in                            Estimated Amount
      Priority (List Holder and Priority)                           Owed on This Lien




                                  Total Owed--All Senior Liens

    (i)      The Debtor(s) allege that the total amount of debt secured by liens that are senior in priority to the lien held by
                                                                      exceeds the total value of the principal residence. Accordingly, the
             claim will receive (i) no distributions as a secured claim; and (ii) distributions as an unsecured claim only in
             accordance with applicable law.
    (ii)     Upon the Debtor(s)' completion of all payments set forth in this Plan, the holder of the lien is required to execute and
             record a full and unequivocal release of its liens, encumbrances and security interests secured by the principal
             residence and to provide a copy of the release to the Debtor(s) and their counsel. Notwithstanding the foregoing, the
             holder of a lien that secures post-petition homeowners' association fees and assessments will be allowed to retain
             its lien, but only to secure (i) post-petition assessments; and (ii) other post-petition amounts, such as legal fees, if
             such other post-petition amounts are (a) incurred with respect to post-petition fees and assessments; and (b)
             approved by the Court, if incurred during the pendency of the bankruptcy case.

    (iii)    This Paragraph 8C will only be effective if the Debtor(s) perform each of the following:
             (a) Mail a "Lien Stripping Notice," in the form set forth on the Court's website, to the holder of the lien that is governed
                 by this Paragraph 8C. The Lien Stripping Notice must be mailed in a separate envelope from any other
                 document. Service must be in a manner authorized by Fed. R. Bankr. P. 7004.

             (b) File a certificate of service at least 7 days prior to confirmation reflecting that the Lien Stripping Notice was mailed
                 by both certified mail, return receipt requested and by regular US mail to the holder of the lien on ALL of the
                 following, with the mailings occurring not later than 31 days prior to the hearing on this Plan:

                 The holder at the address for notices shown on any proof of claim filed by the holder and in accordance with Fed.
                 R. Bankr. P. 7004.

                 Any attorney representing the holder who has filed a request for notice in this bankruptcy case.

    (iv)     Third party costs incurred on behalf of the Debtor(s) such as costs of performing a title or lien search or serving the
             motion and notices will be borne by the Debtor(s). If such third party costs are advanced by Debtor(s)' counsel, the
             Debtor(s) must promptly reimburse such costs, without the need for any further application or order.


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9. Debt Incurred (a) within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or (b) within 1 Year
Preceding Petition Date and Secured by Other Collateral for Which FULL PAYMENT, with Interest, is Required by
11 U.S.C. § 1325(a)(9) (hanging paragraph). The following table sets forth each class of creditors holding a claim for a debt
incurred within 910 days preceding the petition date and secured by a security interest on a motor vehicle or for a debt incurred
within 1 year preceding the petition date and secured by a security interest on other collateral for which full payment is required
by 11 U.S.C. § 1325(a)(9) (hanging Paragraph).

 Name of Holder of Secured Claim /                        Claim            Plan          Monthly          Starting        Ending              Total
 Security for Claim                                                      Interest        Payment          Month #         Month #
                                                                           Rate          Amount



 Gateway One Lending & Finance
 2016 Dodge Ram
 Cure Claim*
 Monthly Contract Pmt.
 Total Debt Claim                                       $35,086.00          5.25%            $303.75           1              12               $3,645.00
                                                                                             $780.00          13              59              $36,660.00
                                                                                             $206.69          60              60                $206.69
* In this Plan, a "Cure Claim" is the amount required to cure any existing default. A "Total Debt Claim" is a claim that will be fully paid during the
term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly
Contract Payment; (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.

A.   Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this Plan is
     confirmed) of the Debtor(s)' obligations to the holder of the claim. If the monthly payment in the proposed Plan is less than
     the amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly
     adequate protection payment.

B.   Each claim secured by a security interest is designated to be in a separate class.
10. Secured Debts on Which There is No Default and to be Paid Directly by the Debtor(s).

A.   The claims held by the following secured creditors will be paid by the Debtor(s) (and not paid through the Trustee) in
     accordance with the pre-petition contracts between the Debtor(s) and the holder of the claim secured by a security interest:

 Name of Holder /                                                 Total Claim        Collateral         Contract        Monthly         Date Last
 Collateral for Claim                                             on Petition        Value on           Interest        Payment         Payment is
                                                                  Date               Petition Date      Rate                            Due

B.   Each claim secured by a security interest is designated to be in a separate class.




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11. Other Secured Claims (Property to be Retained). Payments on these claims will be made through the Trustee. The
secured claims treated by this Paragraph are in the following table:

Name of Holder of              Claim         Collateral         Plan                     Monthly                      Start. End.              Total
Secured Claim /                                Value          Interest                   Payment                      Month Month
Security for Claim                                              Rate                      Amount                        #     #

                                                                                P&I       Escrow*          Total

* Only applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the security interest. If the
collateral is a vehicle or other personal property, the "Escrow" amount should be $0.00.

** In this Plan, a "Cure Claim" is the amount required to cure any existing default. A "Total Debt Claim is a claim that will be fully paid during the
term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly
Contract Payment; (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.

A.   The amount of secured claim to paid under this Plan is the lesser of the amount listed above as the "Collateral Value" and
     the allowed amount of the claim. If a timely proof of claim is filed, the amount of the claim will be determined through the
     claims allowance process. Otherwise, the amount scheduled in this Plan will control. If the Court orders a different amount
     than is shown above as "Collateral Value," the Plan shall be deemed amended to reflect that Collateral Value without the
     requirement of the filing of an amended Plan.

B.   The amount listed as "Escrow" will be adjusted to reflect 1/12th of the annual ad valorem taxes and property insurance that
     is escrowed. If there is an escrow shortage (for a RESPA Reserve or otherwise), the shortage is included in the Cure Claim
     listed above.

C.   Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this Plan is
     confirmed) of the Debtor(s)' obligations to the holder of the secured claim. If the monthly payment in the proposed Plan is
     less than the amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the
     monthly adequate protection payment.

D.   If the pre-petition loan documents include a provision for an escrow account, the actual monthly payment is adjustable only
     in accordance with this Paragraph. The Home Mortgage Payment Procedures must be followed, even though the claims
     treated in this Paragraph are not secured by the Debtor(s)' principal residence.

E.   Each claim secured by a security interest is designated to be in a separate class.

12. Modification of Stay and Lien Retention. The automatic stay is modified to allow holders of secured claims to send the
Debtor(s): (i) monthly statements; (ii) escrow statements; (iii) payment change notices; and (iv) such other routine and
customary notices as are sent to borrowers who are not in default. The preceding sentence does not authorize the sending of
any (i) demand letters; (ii) demands for payment; (iii) notices of actual or pending default. The holder of an Allowed Secured
Claim that is proposed to be paid under this Plan shall retain its lien until the earlier of (i) the payment of the underlying debt as
determined under non-bankruptcy law; or (ii) the entry of a discharge under 11 U.S.C. § 1328. The holder of a claim secured by
a valid lien may enforce its lien only if the stay is modified under 11 U.S.C. § 362 to allow such enforcement.

13. Maintenance of Taxes and Insurance. The Debtor(s) must pay all ad valorem property taxes on property that is proposed to
be retained under this Plan, with payment made in accordance with applicable non-bankruptcy law not later than the last date on
which such taxes may be paid without penalty. The Debtor(s) must maintain insurance on all property that serves to secure a
loan and that is proposed to be retained under this Plan, as required by the underlying loan documents. This Paragraph 13
does not apply to the extent that taxes and insurance are escrowed. Any holder of a secured claim may request in writing, and
the Debtor(s) must promptly provide proof of compliance with this Paragraph. If the Debtor(s) fail to provide such proof within 30
days of receipt of a written request, the holder of the debt secured by a lien on the property may purchase such insurance or pay
such taxes in accordance with its rights under applicable non-bankruptcy law. Unless otherwise ordered by the Court, payment
under this Paragraph may not be undertaken by a transfer of the tax lien on the property.




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14. Secured Claims Satisfied by Transfer of Real Property in Satisfaction of Secured Claim.
A.   The secured claims set forth in this table will be satisfied by the transfer of title to the real property from the Debtor(s) to the
     transferee identified below.

 Priority                                            Name and Address of Holder of                       Estimated Claim of Lien Holder
                                                     Security Interest



B.   The Transferee is
C.   The value to be credited to the Transferee's claim secured by the lien is:

       Value of property

       Total amounts owed to all holders of senior liens
       Net value to be credited by Transferee

D.   The address and legal description of the property to be transferred is
     _________________________________.
E.   This Paragraph applies only if 100% of the property to be transferred is included in the estate under 11 U.S.C. § 541(a),
     including without limitation community property included in the estate by 11 U.S.C. § 541(a)(2).

F.   On or after the 30th day following entry of an order confirming this Plan:
     (i)     The Debtor(s) shall file as soon as practicable, a Notice of Transfer Pursuant to Bankruptcy Plan in the real property
             records of the County in which the property is located. A Notice of Transfer Pursuant to Bankruptcy Plan that attaches
             a certified copy of this Plan and a certified copy of the Order confirming this Plan shall, when filed with a legal
             description of the property in the real property records of the County in which the property is located, constitute a
             transfer of ownership of the property to the holder of the Secured Claim. The transfer will be effective upon the later to
             occur of (i) the filing of the Notice of Transfer Pursuant to Bankruptcy Plan that attaches a certified copy of this Plan and
             a certified copy of the Order confirming the Plan in the real property records of the applicable County; or (ii) if the Order
             is stayed pending appeal, the termination of the stay.

     (ii)    The transferee of the transferred property must credit its claim with the Net Value to be credited by Transferee as
             shown in the preceding table (unless a different amount is ordered by the Court at the confirmation hearing on this
             Plan), not to exceed the balance owed on the claim on the date of the transfer. If the transfer is to the holder of a junior
             lien, the transfer is made subject to all senior liens. The holder of any senior lien may exercise its rights in
             accordance with applicable non-bankruptcy law. If the transfer is to the holder of a senior lien, the transfer is free and
             clear of the rights of the holder of any junior lien.*

             * The property may not be transferred to the holder of an oversecured senior lien if there is a junior lien.


     (iii)   The senior liens must be satisfied, if at all, out of the property in accordance with applicable non-bankruptcy law. The
             transfer to the transferee and the relief granted by this Paragraph are in full satisfaction of the Debtor(s)' obligations to
             any holder of a security interest that is senior in priority to the security interest held by the transferee. No further
             payments by the Debtor(s) are required.

     (iv)    The automatic stay is modified to allow any holder of a security interest or other lien on the property to exercise all of
             its rights against the property in accordance with applicable non-bankruptcy law.

G. Notwithstanding the foregoing Section F:

     (i)     At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee may demand in
             writing, and the Debtor(s) must execute, a special warranty deed transferring the property to the transferee.




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       (ii)    At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee may elect in
               writing to foreclose its security interest in the subject property. Any foreclosure must be completed within 90 days
               following entry of an order confirming this Plan. This Plan, the order confirming this Plan and a proper election
               hereunder constitute a judicial authorization to proceed to foreclose to the extent required under applicable law. If an
               election is made under this subsection, the transferee shall be responsible for all loss associated with the property
               and all charges, liens, fees, etc. against the property from the 30th day following entry of an order confirming this Plan.

       (iii)   If a proper demand is made under this Section G, the provisions of Section F(i) are not applicable.

H.     On and after the date on which the title to the real property (as reflected in the real property records) is not held by the
       Debtor(s), and except as otherwise agreed in writing between the Debtor(s) and the holder of the entity to which the property
       has been transferred, the Debtor(s) will immediately vacate the property.

I.     The third party costs incurred on behalf of the Debtor(s) to obtain a lien search or title report and to file the Notice and
       certified copies will be borne by the Debtor(s). If such third party costs are advanced by Debtor(s)' counsel, the Debtor(s)
       must promptly reimburse such costs.

J.     The Debtor(s) must file a certificate of service at least 7 days prior to Plan confirmation reflecting that a copy of this Plan was
       mailed by both certified mail, return receipt requested and by regular US mail to all of the following, with the mailings to have
       occurred not later than 31 days prior to the hearing on this Plan to:

       (i)     Any attorney representing the holder of any security interest against the property who has filed a request for notice in
               this bankruptcy case.

       (ii)    The holder of any security interest against the property, in accordance with Fed. R. Bankr. P. 7004 and the address for
               notice shown on any proof of claim filed by a holder. The identities of the holders must be identified from the deeds of
               trust filed in the real property records.

15. Secured Claims on Which Lien is Avoided Under 11 U.S.C. § 522(f). To the extent that the property described in this
Paragraph is exempted under 11 U.S.C. § 522(b)(1), the following secured claims are avoided pursuant to 11 U.S.C. § 522(f) of
the Bankruptcy Code. The only amount securing any such avoided lien is the lesser of (i) the amount shown as Remaining
Value in this table; and (ii) the amount of the Allowed Claim secured by the lien:

     Description of          Name and                            Value of           Amount of           Amount             Remaining
     Property                Address of                          Property           Secured Claims      Claimed            Value
                             Secured                                                Senior to           as
                             Creditor                                               Secured Claim       Exempt
                                                                                    to be Avoided

16. Specially Classified Unsecured Claims. The following unsecured claims will be treated as described below:

     Name of Unsecured Creditor                                Treatment and Reason for Special Classification

17. Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 16 shall comprise
a single class of creditors. Allowed claims under this Paragraph 17 shall be paid a pro rata share of the amount remaining after
payment of all secured, priority, and specially classified unsecured claims.

18. Executory Contracts. Except as set forth elsewhere in this Plan or in the following sentence, all executory contracts are
rejected. The following contracts are assumed with the amount and timing of any cure payments as shown:

                 Parties to Executory Contract                    Amount of Cure          Cure to be Made Directly by the Debtor(s) in
                                                                   ($0.00 if none)        equal Monthly Installments of this Amount,
                                                                                         with the First Installment Due on the 30th Day
                                                                                           Following Entry of the Confirmation Order

AT & T                                                                         $0.00




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Debtor(s):   James Anthony Yeppez                                                      Case No: 18-37012-H1-13


19. Asset Sales. The Debtor(s) are authorized--without the need for further Court order (except as provided by Fed. R. Bankr. P.
2014 if applicable)--to sell their exempt property in accordance with this Paragraph. Any such sale shall provide for the full
payment, at closing, of all liens on the property that is sold. If the Debtor(s) request and the Court so determines, an order
confirming this authority may be granted by the Court, ex parte. Within 14 days following the closing of any sale of real property
pursuant to this Paragraph, the Debtor(s) must provide to the Trustee a copy of the final closing statement. Any non-exempt
proceeds received from the sale must be paid to the Trustee. Unless the sale was privately closed, the closing statement must
be the statement issued by the title company or closing agent handling the sale. If the property that was sold was exempted as
a homestead solely under Texas law, any proceeds of the sale that are not reinvested in a qualifying Texas homestead within 6
months of the closing of the sale must be paid to the Trustee within 14 days after the expiration of the 6-month period. If only a
portion of the proceeds are reinvested in a qualifying Texas homestead prior to the expiration of the 6-month period, the balance
of the proceeds must be paid to the Trustee within 14 days of the closing.


20. Surrender of Collateral during the Plan Period.
A.   The Debtor(s) may surrender collateral to a secured creditor after confirmation of the Plan by fling a Surrender Notice in the
     form set forth on the Court's website. The Surrender Notice will be effective upon the expiration of 21 days from the date that
     it is filed; provided, if an objection to the Surrender Notice is filed within the 21-day period, the Surrender Notice will become
     effective only upon entry of a Court order approving the Surrender Notice (the "Effective Date"). If a timely objection is filed,
     the Trustee will schedule the Surrender Notice for hearing on the next available Chapter 13 panel date. On the Effective
     Date, the automatic stay under 11 U.S.C. § 362(a) and the co-debtor stay under 11 U.S.C. § 1301(a) are terminated as to
     actions against surrendered property. The automatic stay is not terminated under this Paragraph as to any other action.

B.   Bankruptcy Local Rule 6007-1 applies to the surrender of property under this Plan.

C.   Other than terminating the co-debtor stay, this Plan does not affect any co-debtor's rights in the collateral or the obligation of
     any secured creditor to act with respect to such a co-debtor in compliance with applicable non-bankruptcy law.

D.   If payments on debt secured by the surrendered property were made through the Trustee, a Debtor(s)' Proposed Notice of
     Plan Payment Adjustment, in the form set forth on the Court's website, must be filed as an exhibit to the Surrender Notice. If
     the Trustee determines that the Debtor's Proposed Notice of Payment Adjustment is materially inconsistent with the
     following Paragraph, the Trustee must file a Trustee's Corrected Notice of Plan Payment Adjustment. Any such Corrected
     Notice must be filed within 30 days after the filing of the Debtor(s)' Proposed Notice of Plan Adjustment. The Trustee's
     Corrected Notice of Plan Payment Adjustment will be binding unless a party-in-interest files a motion and obtains an order
     to the contrary.

E.   If the payment on the debt secured by the surrendered property was made through the Trustee, the Plan payment will be
     adjusted. The adjusted payment will be effective with the next payment due to the Trustee after the Effective Date. The Plan
     payment adjustment will be a reduction equal to (i) the sum of (a) all remaining principal, interest and escrow payments that
     are due under this Plan after the Effective Date and payable to the holder of the secured debt; plus (b) any Reserves
     required by Paragraph 23 for the payment of ad valorem taxes pertaining to the surrendered property; plus (c) the Posted
     Chapter 13 trustee fee applicable to the sum of such remaining payments of principal, interest, escrow and reserves;
     divided by (ii) the remaining number of monthly payments due under the Plan after the Effective Date. No further ad valorem
     tax reserves will be established on surrendered property.

F.   On the Effective Date, no additional direct or Trustee payments will be made on the claim secured by the surrendered
     property. The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with the creditor's
     allowed unsecured claim in any timely filed proof of claim; or (ii) by separate Court order.

G. Within 14 days of the Effective Date, the Debtor(s) must file an amended Schedule I and J.

21. Payments Under Plan. For the purposes of 11 U.S.C. § 1328(a) of the Bankruptcy Code, the Debtor(s) will have completed
all payments under this Plan by:

A.   Paying all amounts due under Paragraph 4 of this Plan, as adjusted by this Plan; and
B.   Paying all amounts due as direct payments under this Plan, as adjusted by this Plan.




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Debtor(s):    James Anthony Yeppez                                                       Case No: 18-37012-H1-13


22. Emergency Savings Fund.
A.   Line 21 of Schedule J (the Debtor(s)' expense budget) includes a provision for an emergency savings fund by the Debtor(s).
     Deposits into the Emergency Savings Fund will be made to the Trustee. Withdrawals from the Emergency Savings Fund
     may be made by application to the Court, utilizing the form application from the Court's website. Withdrawals should be
     requested only in an emergency. The form application need only be served electronically, and only to persons subscribing
     to the Court's CM/ECF electronic noticing system. An application will be deemed granted on the 15th day after filing unless
     (i) an objection has been filed; or (ii) the Court has set a hearing on the application. The Debtor(s) may request emergency
     consideration of any application filed under this Paragraph. The balance, if any, in the Emergency Savings Fund will be paid
     to the Debtor(s) following (i) the completion of all payments under this Plan; (ii) the dismissal of this case; or (iii) the
     conversion of this case to a case under chapter 7, except under those circumstances set forth in 11 U.S.C. § 348(f)(2).

B.   The deposits into the Emergency Savings Fund will be:

      Month of First Deposit         Month of Last Deposit       Amount                       Total
      of this Amount                 of this Amount




                                                                                     TOTAL

C.   Funds paid to the Trustee will not be credited to the Emergency Savings Fund unless, at the time of receipt by the Trustee,
     the Debtor(s) are current on payments provided for in the Plan that are to be distributed to creditors or that are to be reserved
     under Paragraph 23. After funds have been credited to the Emergency Savings Fund, they may only be withdrawn in
     accordance with this Paragraph.

D.   The Debtor(s) may file a Notice reflecting any change into the Emergency Savings Fund deposits. Unless a party-in-interest
     objects within 14 days of the filing of the Notice, the Trustee must file a Notice of Plan Payment Adjustment to reflect the
     change.

23. Reserves for Post-Petition Ad Valorem Taxes, Homeowners Association Fees or Other Periodic Post-Petition Obligations.
(Check One or More):

                 The Debtor(s) do not invoke this provision.
                 The Debtor(s) will reserve for post-petition ad valorem taxes. The amount of each monthly reserve is shown on
                 Schedule 23*.

                 The Debtor(s) will reserve for post-petition homeowners' association fees. The amount of each monthly reserve
                 is shown on Schedule 23.

                 The Debtor(s) will reserve for post-petition federal income tax payments. The amount of each monthly reserve is
                 shown on Schedule 23.

                 The Debtor(s) will reserve for:                                                                                         .**
                 The amount of each monthly reserve is shown on Schedule 23.

             * A Schedule 23 must be attached unless no Reserves are established.

             ** Reserves may not be established under this Paragraph for the payment of insurance premiums.




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Debtor(s):   James Anthony Yeppez                                                        Case No: 18-37012-H1-13


A.   The Debtor(s)' expense budget shown on Schedule J includes a monthly provision for the payment of the post-petition
     Reserves identified above. The Debtor(s) must deposit the monthly amount shown on Schedule J for each of the
     designated Reserve items with the Trustee. Not less than 45 days before the date on which payment is due to the taxing
     authority, homeowner's association or other person, the Debtor(s) must send a request to the Trustee, on a form
     promulgated by the Trustee, requesting a disbursement from the Reserves. Copies of the appropriate invoices or tax
     statements must be attached to the request. Not later than 45 days after receipt of an appropriate request, the Trustee must
     pay the lesser of (i) the amount shown on the invoices or tax statements; or (ii) the balance in the applicable Reserve. If the
     balance in the applicable Reserve is less than the amount due, then the Debtor(s) are responsible for payment of the
     balance due on the invoice or tax statements. The Chapter 13 Trustee's Fee will apply to any disbursements from the
     Reserves.

B.   The Debtor(s) must file a Notice reflecting any change of the projected disbursement amount from the applicable Reserve.
     Unless a party-in-interest objects within 14 days thereafter, the Trustee must file a Notice of Plan Payment Adjustment to
     reflect the change.

C.   Funds paid to the Trustee will not be credited to Reserves unless, at the time of receipt by the Trustee, the Debtor(s) are
     current on payments provided for in the Plan that are to be distributed to the holders of claims. If the monthly amount
     credited to Reserves is less than the total of all monthly Reserves shown above, the Trustee will apply the credits to the
     Reserves pro rata. After funds have been credited to an applicable Reserve, they may only be withdrawn in accordance with
     this Paragraph.

D.   If this Plan provides for payment of a "Total Debt Claim" on real property and no lender-established escrow account is
     maintained, the Debtor(s) must establish Reserves under this Paragraph for the payment of ad valorem taxes. If the
     Debtor(s) subsequently surrender the real property, or if the automatic stay is terminated as to the real property, the amount
     of Reserves for taxes on such property will be paid by the Trustee, without further Court Order, to the holder of the claim
     secured by the most senior security interest against the real property.

E.   Upon completion of all payments under this Plan, the remaining balance on hand in the Reserves will be paid to the
     Debtor(s).

24. Effect of a Motion to Convert to Chapter 7. If, during the term of this Plan, the Debtor(s) file a motion to convert this case to a
case under Chapter 7 of the Bankruptcy Code, the motion may be included with a request to distribute to Debtor(s)' counsel the
lesser of (i) the amount agreed between the Debtor(s) and Debtor(s)' counsel; and (ii) $750.00. If a motion to convert to chapter
7 has been filed and not yet granted by the Court, the Trustee must, within 35 days of the date on which the motion was filed,
distribute any remaining funds (exclusive of Reserves and Emergency Savings Funds) (i) first to pay any unpaid adequate
protection payments due to the holders of secured claims; and (ii) thereafter, the amount requested (not to exceed $750.00) to
Debtor's counsel for post-conversion services. Any amounts so distributed are subject to disgorgement if ordered by the Court.
A motion to convert filed pursuant to this Paragraph 24 must be filed with a proposed order, in the form published on the Court's
website. The Order, if submitted in accordance with this Paragraph, may be issued ex parte and without notice.

25. Presence or Absence of a Proof of Claim.
A.   Secured and priority claims provided for in this Plan will be paid without the necessity of the filing of a proof of claim. If this
     Plan sets the amount of a monthly payment, monthly payments will be adjusted in accordance with the Court's Home
     Mortgage Payment Procedures as applied by Paragraphs 8 and 11 of this Plan.

B.   Unless otherwise ordered by the Court (and subject to the claims objection process), the amounts shown on a timely filed
     proof of claim govern as to (i) the amount of that claim; (ii) the amount of any cure amount; and (iii) the amount of any
     monthly payment, which monthly payment is subject to adjustment in accordance with the Court's Home Mortgage Payment
     Procedures as applied by Paragraphs 8 and 11 of this Plan.

C.   Regardless of the filing of a proof of claim, the valuation in this Plan of the collateral securing a claim controls over any
     contrary proof of claim.

D.   A determination made under this Plan as to a claim does not constitute an order allowing or disallowing a claim against the
     estate for purposes of Rule 3008 or otherwise.

E.   Unless the Court orders otherwise, no general unsecured claim will be paid unless a proof of claim has been timely filed.




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Debtor(s):   James Anthony Yeppez                                                     Case No: 18-37012-H1-13


F.   The payment of Debtor(s)' attorney's fees are not governed by this Paragraph.

G. No creditor, before or after completion of the Plan, shall be allowed to collect any payments, costs, fees, or expenses, from
   the Debtor(s), the estate, or their property, that are not provided for in this Plan.

26. Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in accordance with 11 U.S.C. § 1328.
Property of the estate shall vest in the Debtor(s) upon entry of the discharge order.

27. Effect of Dismissal. If this case is dismissed:

A.   Except for Paragraph 27(B), this Plan is no longer effective.
B.   Any funds received by the Trustee after entry of the order of dismissal will be paid to the Debtor(s).

28. Plan Not Altered from Official Form. By filing this Plan, Debtor(s) and their counsel represent that the Plan is in the official
form authorized by the Court. There are no addenda or other changes made to the official form, except those contained in
Paragraph 29.

29. Non-standard Provisions.
None.

Except for provisions contained in Paragraph 29, any provision not contained in the approved Southern District of Texas Chapter
13 Plan is void. Any provision contained in this Paragraph 29 is void unless Paragraph 1 of this Plan indicates that a non-
standard provision has been included in this Plan.


                                                                     Submitted by
                                                                     /s/ James Anthony Yeppez
                                                                     James Anthony Yeppez, Debtor


                                                                     Joint Debtor Signature

                                                                     /s/ Eloise A. Guzman
                                                                     Eloise A. Guzman
                                                                     Guzman Law Firm
                                                                     8225 Gulf Freeway
                                                                     Houston, TX 77017
                                                                     eloise@guzmanbk.com
                                                                     (713) 378-9900
                                                                     Attorney for Debtor(s)




                                        Debtor(s)' Declaration Pursuant to 28 U.S.C. § 1746
I declare under penalty of perjury that the foregoing statements of value contained in this document are true and correct.


Dated: 1/17/2019                                /s/ James Anthony Yeppez
                                                James Anthony Yeppez, Debtor

Dated:
                                                Signature of Joint Debtor




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Debtor(s):     James Anthony Yeppez                                                       Case No: 18-37012-H1-13




                                                     Exhibit "A"
                                            Plan Summary for Proposed Plan

                                                 Disposable Income and Plan Payments

      (A)            (B)          (C)          (D)         (E)      (F)                (G)                       (H)                   (I)
 Projected      Projected      Projected     Payment      Beg.     Ending       Payments for the          Savings Fund***             Total
 Schedule       Schedule     Disposable      Amount      Month     Month       Benefit of Creditors          Deposits               Monthly
 "I" Income          "J"        Income         to           #*       #         and for Reserves**        Established Under          Trustee
    (From       Expenses     ( Column A      Trustee                                                      Plan (Column D           Payments
     most         (From          minus                                                                    minus Column G)         (Column D
  recently         most       Column B)                                                                                            multiplied
     filed       recently                                                                                                         by number
 Schedule          filed                                                                                                           of months
        I)      Schedule                                                                                                              paid)
                      J)                                                        Per          Total         Per         Total
                                                                               Month                      Month
   $4,234.04     $3,230.00      $1,004.04    $1,000.00   1: 01/19 60: 12/23   $1,000.00    $60,000.00        $0.00       $0.00       $60,000.00
                                                               Grand Total                 $60,000.00                    $0.00       $60,000.00
                                                Less Posted Chapter 13
                                                                                            $3,570.00
                                                        Trustee Fee****

                                                              Net Available                $56,430.00


* This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not later than 30 days after the
petition date.

** Reserves are established under Paragraph 23 of the Plan.

*** Savings funds are funds established under Paragraph 22 of the Plan.

**** The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court's website.




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Debtor(s):    James Anthony Yeppez                                                      Case No: 18-37012-H1-13


                                       Projected Trustee Disbursements to Secured Creditors
                Name of Holder /                        Claim             Plan     Monthly         Starting     Ending           Total
             Description of Collateral                                    Int.     Payment         Month #      Month #
                                                                          Rate     Amount

 Gateway One Lending & Finance
 2016 Dodge Ram
 Treated under Plan Section: 9
 Check One:         Surrendered        Transferred       Retained (paid direct)       Retained (paid through Trustee)*
 Cure Claim
 3002.1(c) Amount
 Monthly Payment
 Total Debt Claim                                      $35,086.00         5.25%         $303.75             1           12       $3,645.00
                                                                                        $780.00            13           59      $36,660.00
                                                                                        $206.69            60           60        $206.69
 Monthly Refinance Payment (¶ 8B)
                                                                            Total of Payments to Secured Creditors             $40,511.69
* Amounts for Cure Claims, Monthly Payments, Total Debt Claims and Monthly Refinance Payments should be listed only if the box for "Retained
(paid through Trustee)" is checked.



                                       Projected Trustee Disbursements to Priority Creditors
               Name of Holder /                         Claim             Int.     Monthly          Beg.         End             Total
  Nature of Priority (Taxes, Attorneys Fees,                              Rate     Payment         Month #      Month #
                   DSO, etc.)                                                      Amount

 Attorney General of Texas                              $4,409.27         6.00%       Pro-Rata              7           20       $4,671.04
 Child Support
 Treated under Plan Section: 5

 Guzman Law Firm                                        $4,231.00         0.00%         $636.75             1            6       $3,820.50
 Attorney Fees                                                                          $410.50             7            7        $410.50
 Treated under Plan Section: 6

                                                                             Total of Payments to Priority Creditors             $8,902.04

                                                     Projected Trustee Reserve Funds
                                                 Reserve Fund Type                                                               Total
                                         (Ad Valorem Taxes, Insurance, HOA)

                                                                                             Total of Reserve Funds                  $0.00




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Debtor(s):   James Anthony Yeppez                                                     Case No: 18-37012-H1-13


                                                            SUMMARY
 1     Total Payments to Trustee                                                                                $60,000.00
 2     Less Total Savings Fund Deposits                                                                              $0.00
 3     Net Trustee Payments (Line 1 minus line 2)                                                               $60,000.00
 4     Less Posted Chapter 13 Trustee Fee                                                                        $3,570.00
 5     Less Total Payments by Trustee to Secured Creditors                                                      $40,511.69
 6     Less Total Payments by Trustee to Priority Creditors (§§507(a)(1) - (a)(10))                              $8,902.04
 7     Less Total Reserve Funds                                                                                      $0.00
 8     Net Available for General Unsecured Creditors (Line 3 minus lines 4-7)                                    $7,016.27

                                            Unsecured Creditor Distribution Estimate
 9     Estimated Total General Unsecured Claims                                                                 $31,020.86
 10    Forecast % Dividend on General Unsecured Claims (Line 8 divided by line 9)                                     22%

                                                  Best Interest of Creditors Test
 11    Total Non-Exempt Property                                                                                   $50.00
 12    Total Distributions to Administrative, Priority and General Unsecured Creditors                          $19,488.31
       (Line 4 plus line 6 plus line 8 plus any direct payments by Debtor(s) under the
       Plan in satisfaction of prepetition priority claims)




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